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Dear Judge Shelby,

My name is Alexis D. Millett and | am Dana J. Steele’s Daughter. | am 33 years old,
married, | have one biological son and a step daughter that I've raised for the past 7 years of
her life. My Mother, Dana, and | have become especially close in the last 4 years and | have
become overwhelmingly proud of her. | am writing this letter to you because | feel it is important
for you to understand more about my Mother, Dana, and her life experiences.

My Mom, Dana, has done so much to turn her life around and make better choices for
herself. We lost my Grandfather, Larry, in February 2023. In the final years of his life my Mom
really stepped up and made sure that he was taken care of. She did all the hard things required
of an end of life caregiver, as well as taking him to the doctor appointments, making sure he ate,
monitoring his medications, and best of all-she provided companionship to him in his final years.
Dana has always been free spirited. It was hard to get her to stay in one place for long because
she wanted to be out living life, but then my Grandfather needed her. She put her entire life on
hold just to ensure that he had everything he needed to get by.

Growing up my Mom may not have made the best choices for herself, but when it came
to me she did everything she could to make sure | was taken care of. She was selfless. | would
often find trinkets or makeup of hers that | liked and 9 times out of 10 she would give me
whatever the item was. | never went to bed hungry or felt as though she didn’t love me. | always
knew how loved | was and how much | mattered to her.

Last year 2023 my Mom decided to go back to school. Yes. School. She went back to
school because she wanted to do Nails for a living. | had recently gotten licensed to be a Nail
Technician and she thought that would be a great career path for her too. Never in my life had |
seen my Mom desire more for herself. Never had | seen her work so hard for something to
occupy her time in a positive way. She mostly just went with the flow taking odd jobs here or
there, but my 55 year old mother decided to go back to school. She was the oldest person in her
class, but that didn’t stop her. She’s been having trouble getting her license due to all of her
previous charges. The Department of Professional Licensing requires a lot of paperwork with
your criminal background, and she’s been working with her counselor and P.O. trying to get
together everything she needs. | love seeing her work towards her goals. She already has a job
lined up once her license gets approved. She has even kept working her other job setting up
events in the area to keep a steady income.

| remember the day my Mom, Dana, decided to gei sober. She had been on a bender
(drinking) for about 2 days, maybe 3 when | got a call from Grandpa, Larry, at about eleven
o'clock at night. He says, “the police have your mom up in SLC, I need you to go get her.” |
could hardly believe that those officers waited with my Mom on the side of the road for about an
hour for me to arrive. | live in Springville and it was a far drive for me. Upon my arrival, my Mom
was a mess, but even at her worst she still made the officers laugh. They were kind to my Mom
in letting me come and get her and | think that had a lot to do with her personality. She was
cooperative, polite, and ended up adding humor to the situation which is possibly why they gave
her the chance to be picked up. | don’t know the laws but someone was looking out for her at
that moment. | took her home and spent the night at her house to make sure she was going to
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be okay, then left in the morning to come tend to my family. Well, she slept all day and finally
was up getting water way late in the afternoon and my Grandpa, Larry (who was also an
alcoholic-20 years sober) came down the hall to check on her. She had told him, “l either need
another bottle or | need to die because | hate feeling like this.” Grandpa looked at her and said,
“No, | know what you need. Let me go get my keys.”

He took her to an AA meeting. She’d been to a million before, but this one was different
for her. She felt a power, much bigger than herself, coming into her life and it was like a switch
flipped for her. For the first time in her life she wanted to be sober. She absolutely craved it. She
started getting excited to go to her meetings. She was going to 2 or 3a day! She found a
sponsor and started doing her steps. My Mom got sober! She did it! Before my Grandfather,
Larry, passed away he got to see his daughter turn her life around.

| believe my Mother committed her crimes partly because she was negatively influenced
by her boyfriend, Justin. She played her role in her crimes, but | think that she wouldn't have
been so involved in the situation had she not had Justin in her life. That man created so much
turmoil for her and when you're so closely involved with such a person you also get involved
with their lifestyle. She tried, for years, to get away from him, but when she tried to leave he
would hold on tighter. My Mom isn’t completely innocent, and | don’t want you to think I’m
making excuses for her, but this man was a black stain on her life.

| know she’s remorseful for her actions. She feels regret every day, but she also feels
grateful for the situation to have happened because it was her way to finally break free from
Justin and turn her life around. A blessing in disguise, if you will.

She has a few felonies from about 20+ years ago. | remember her going to prison when |
was a young child in the late 90’s. | can’t say that | know her exact charges, but | know they
involved the distribution of drugs. It’s not something we really talk about because that was over
20 years ago and she feels ashamed of her past. I’m sure it’s embarrassing to tell your grown
child about all the mistakes you made when you were young.

Before her arrest in 2021 my Mom and | didn’t talk much. We'd have a conversation here
and there every couple of weeks or months but we weren't close. She wanted to keep her life
separate from mine because | had a new family and | think somehow she didn't feel like she
belonged and wanted to keep us away from her lifestyle. Like | said before, she was always
taking care of me the best way she knew how.

I’m not thrilled my Mom got in trouble, but I’m grateful that she did. When she got
arrested, she started to call me every day from jail. After she got out, she kept calling. We talked
every day. Multiple times a day. We talked about anything and everything. She wanted sobriety
and found companionship in me because | am a good influence for her. She started driving
down to my house to hang out with me and my kids. She wanted to get to know my Husband
and step-daughter more. She couldn’t get enough of us and even now, she calls me at /east
once a day. Usually more. Sometimes we just sit on the phone and say nothing because we just
want to be together. For the first time in my life my Mom and | were close. | knew | could call
and she would answer. | feel gratitude towards the situation because | got my Mom back and
words will never express how much that means to me.
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“What is best for the defendant?” In my opinion, | think it would be best for my Mom to
serve the remainder of her sentence on probation. She has thrived and improved so much in the
past 3 years in this situation, and | think she will continue to improve herself through this type of
program.

“What are your wishes for the defendant if sentenced to prison?” | don’t want my Mom to
go to that place. | sincerely believe that she is better off not going there at all. But to answer the
question, | hope that she wouldn't have to leave the state. As | understand it, there aren't federal
prisons in Utah. Now that Grandpa is gone my Mom has a very small circle. She has Me and my
family. | would hope that she would be allowed to stay in state so she doesn’t have to be alone. |
would like to be able to visit her if that's what you decide. It is my hope that you decide to give
her a shot outside of prison to prove how far she can go, though, because | believe in her.

I've watched my Mom grow so much as a person in the last 4 years. She has remorse
and has shown that by being sober, doing all the things her probation officer has asked of her,
taking the counseling required of her, going to AA meetings daily, and overall making the
changes necessary in her life to move forward.

Please give her a shot.

Thank you for your time and consideration, Judge Shelby.

Sincerely,
Alexis D. Millett
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Lynn D. Forsberg
1233 Valhalla Drive

Clearfield, Utah 84015

Date: July 24, 2024

The Honorable Judge Shelby
District Court

351 S. West Temple

Salt Lake City, Utah 84101

Dear Judge Robert J. Shelby,

My name is Lynn Forsberg. | hope this letter will help you understand more about Dana Steele
and her life experiences.

Dana Steele and her family have been our neighbors since we moved to Clearfield in 1978.
Dana was a young girl when they bought the house next to ours.

Several times over the years Dana’s family has invited individuals to come and live with them for
a period of time. Some of them were people who otherwise had nowhere else to go. Some of
Dana’s past difficulties resulted from the people living with them.

Dana recognizes mistakes she has made and has come a long way in turning her life around.
She is a very determined and ambitious person. She is very outgoing and has many friends.

Dana has worked for a long time for a company that prepares different event centers for
conventions. She has also completed cosmetology school in Ogden and is now able to get
employment in a beauty salon.

Dana’s parents and one brother, her only sibling, are deceased. She has been separated from
her husband for many years. She has two children and one grandchild. Her daughter and
grandson live in the Provo area. Dana is very proud of her grandson and loves him very much.
Whenever | ask her about her grandson, Levi, she is very happy to tell me how he is doing.
Thank You,

Sincerely,

Lynn D. Forsberg
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January 8, 2024
From: Joe Simonetti
1.A-T.S.E. (International Alliance of Theatrical Stage Employees, Moving

Picture Technicians, Artists and Allied Crafts of the United States, Its
Territories and Canada.) “Local Union IATSE 99”.

Training Coordinator, Union Steward.
PO Box 27894

Salt Lake City, Utah 84127

(801) 688-6853

To Whom it may concern:

Letter of reference “Dana Steele”

I have known Dana since February 2016. At that time, I was also
acting Vice President.

Since that time Dana has proven to be a viable and productive Union
Member. She has shown sincere determination. She has successfully
accomplished so much by taking a multitude of courses and successfully
she became a Journeyman in 2019. Skills currently proficient in are as
foliows: Electrician, Graphics, Bleachers, Audio, Metals, Forklift,
Carpenter, Props, Video, Ground Freight, Floor Marking, Lighting, Asst.
Steward & Union Steward.

This is a major accomplishment. We are in the entertainment industry.

Everything imaginable she has tackled head on traveling to every venue
and there are several Delta Arena, Eccles Theater, Capitol Theater, Salt
Palace, and Mountain America Convention Centers. UNSANA Events.
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In our industry we provide behind the scenes of so many productions.

Ballet, Concerts, Broadway Entertainment, Opera, Disney on Ice, and
every Convention imaginable.

She is unique, succeeding in this tough and sometime grueling industry.

Maintaining a positive attitude through it all. The turnover rate is
exceptionally high as many cannot succeed.

I am reluctant to write this referral as I would really hate losing her to

any other agency. However, I do so in solidarity and wish her all the very
best in whatever endeavor she pursues.

Please feel free to contact me at any time.

Sincerely, fee = 5 ssl os 7 want

Joe Simonetti
IA 99 Training Coordinator
Email: magnetmanusa@ gmail.com
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Karl Dumas

1881 W. 550 N.

West Point, UT 84015
(801)920-7426

kwdumas ail.com April 16, 2023

To Whom It May Concern,

[am pleased to be writing this on behalf of Dana J. Thompsom Steele. I have known Dana since
she first walked into the rooms of Alcoholics Anonymous over a year and a half ago, and it has been
amazing to see the changes she has made since that first meeting.

Over the past 18 or so months, I see her regularly at meetings, where she shares her experience,
strength and hope, and even more importantly her struggles. As she has allowed herself to be vulnerable
with her sharing, she has become more aware of the mistakes she has made, and the difference that comes
with a life of sobriety. She has a sponsor, and is working the steps of the recovery program.

Dana has taken on service positions for different meetings that she attends, including the
responsibility for opening the doors, setting up, and making coffee for the Friday night meeting that we
both attend on a regular basis.

Several months ago, her brother passed away in another state and she was put in the position of
having to make his final arrangements. Then a few months ago, her father—for whom she had been the
primary caregiver—who had been quite sick for some time also passed away, again leaving her to make
arrangements. She handled both of these deaths with much grace, and more importantly without resorting
to the use of alcohol or drugs. I have seen many people, with even more time in recovery than Dana has,
relapse under similar circumstances. Instead of relapsing, Dana attended even more meetings than she
usually does.

If you are familiar with 12 step programs, you know about the 8" and 9" steps where we make
amends to those people we have harmed, and that includes society as a whole. I think that Dana is making
living amends at this point, and although | am aware of the charges that she is facing, and the potential
penalties, I] would ask for leniency at sentencing, so that she can continue on her recovery journey, and in
that process continue to help others recover from their problems with addiction.

Although | know Dana mainly from AA meetings and church, and have never worked with her
professionally, | have worked as an addiction counselor in the past, and am encouraged that Dana has the
tools to continue in recovery, and that she is using those tools on a regular basis.

Thank you for taking the time to read and consider this letter

Sincerely,

Zt

*

Karl Dumas
Date of Sobriety, 1-29-1978
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FROM; Luke Topper
SUBJECT: Character Reference
TO: Whom it may concern

For several years | have been friends with Dana Steele and have watched her progress and
growthin A.A. The program is much more than a personal recovery method, as it also recommends
that service to others is a valuable recovery tool. Dana has grasped this concept and benefitted
greatly. She has helped with the conduct of meetings, worked with others and taken this principle out
of A.A. to care for her dying father. in return, Dana has become confident, stable and giving.

| have observed this change for more than two years and know that while not a guarantee, it is
a very good predictor of success. Dana knows this too and works hard to keep this progress going.
She understands that this is a result of her efforts and the different choices she has made since

becoming sober.
Respectfully, |

Luther J. Topper
